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15                               UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
16
17
     JENNY LISETTE FLORES, et al.,              )   Case No. CV 85-4544 DMG (AGRx)
18                                              )
              Plaintiffs,                       )   NOTICE OF MOTION AND MOTION TO
19
                                                )   ENFORCE SETTLEMENT AND APPOINT A
20   - vs -                                     )   SPECIAL MONITOR
                                                )
21   LORETTA E. LYNCH, Attorney                     Date: June 17, 2016.
                                                )
22   General of the United States, et al.,      )   Time: 9:30 a.m.
                                                )   Dept: Courtroom 7
23            Defendants.                           [HON. DOLLY M. GEE]
                                                )
24
25
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27
28

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                             PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                   ii
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1
           To defendants and their attorneys of record:
2
           PLEASE TAKE NOTICE that on June 17, 2016, at 9:30 a.m. or as soon thereafter as
3
     counsel may be heard, plaintiffs will and do hereby move the Court for an Order (1)
4
     requiring defendants to comply with the settlement filed herein on January 17, 1997
5
     (“Settlement”)1 and this Court’s Orders of July 24, 2015 [Doc. # 177] and August 21,
6
     2015 [Doc. # 189], (2) appointing a Special Monitor, and (3) for such further relief as
7
     the Court deems appropriate.
8
           This motion is based upon the annexed memorandum of points and authorities
9
     and upon all other matters of record herein, and is brought following several meetings
10
     of counsel pursuant to Local Rule 7-3 and ¶ 37 of the Settlement.2
11
12
     Dated: May 19, 2016.                            Respectfully submitted,
13
                                                     CENTER FOR HUMAN RIGHTS &
14
                                                     CONSTITUTIONAL LAW
15                                                   Carlos Holguín
16
                                                     Peter A. Schey

17                                                   ORRICK, HERRINGTON & SUTCLIFFE LLP
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18                                                   T. Wayne Harman
19                                                   Elena García
20                                                   LA RAZA CENTRO LEGAL, INC.
21                                                   Michael Sorgen
                                                     Maria Victoria Castro
22                                                   Amanda Alvarado Ford
23
24   1 See Plaintiffs’ First Set of Exhibits in Support of Motion to Enforce Settlement, Exh.
     1 [Doc. # 101.]
25   2 This motion is made following conferences of counsel pursuant to L.R. 7-3 that took
26   place on March 11, 2016. Further conferences were held on March 17, 2014, and March
     25, 2016. Plaintiffs communicated concerns regarding Defendants' breaches of the
27
     Settlement in correspondence dated February 20, 2016. The parties have been unable to
28   resolve their disagreement over Defendants' compliance with the Settlement and this
     Court’s Orders. Plaintiffs’ Exhibit 1 ¶ 16.
                             PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                   iii
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1
2                                                  LAW FOUNDATION OF SILICON VALLEY -
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3
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7                                                  Of counsel:
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                                                   YOUTH LAW CENTER
9                                                  Alice Bussiere
10
                                                   Virginia Corrigan

11                                                 /s/__Peter Schey_____
12                                                 Attorneys for Plaintiffs

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                           PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
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        1.	   DEFENDANTS CONTINUE TO DETAIN CHILDREN IN DEPLORABLE AND UNSANITARY
7       CONDITIONS IN CBP FACILITIES IN VIOLATION OF THE SETTLEMENT AND THIS COURT’S

8       ORDERS	  ..................................................................................................................................................	  4	  

9           (A)	   Flores Class Member children in CBP facilities suffer from inadequate access
            to food	  .....................................................................................................................................................	  5	  
10
11          (B)	   Flores Class Member children in CBP facilities continue to suffer from
            inadequate access to clean drinking water	  ...............................................................................	  6	  
12
            (C)	   Flores Class Member children are held in CBP facilities that are unsanitary
13
            and unfit for human habitation	  ......................................................................................................	  7	  
14
            (D)	   Flores Class Member children continue to suffer from extremely cold
15
            temperatures in CBP detention facilities	  ...................................................................................	  9	  
16
            (E)	   Flores Class Member children are held in inhumanely overcrowded CBP
17          detention facilities and are forced to endure sleep deprivation.	  .....................................	  10	  
18
        2.	   FLORES CLASS MEMBER CHILDREN ARE ROUTINELY NOT ADVISED OF FLORES
19      RIGHTS BY CBP OR ICE OFFICERS AS REQUIRED BY THE SETTLEMENT	  .............................	  11	  

20      3.	   DHS FAILS TO MAKE AND RECORD ONGOING EFFORTS AIMED AT RELEASE OR
21      PLACEMENT OF FLORES CLASS MEMBERS AS REQUIRED BY THE COURT’S ORDERS
        AND THE SETTLEMENT	  .....................................................................................................................	  12	  
22
23
        4. 	   FLORES CLASS MEMBER CHILDREN ARE ROUTINELY COMMINGLED WITH
        UNRELATED ADULTS FOR EXTENDED PERIODS OF TIME IN VIOLATION OF THE COURT'S
24      ORDERS AND THE SETTLEMENT	  .....................................................................................................	  14	  
25
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26      MONTHS IN SECURE FACILITIES IN VIOLATION OF THE COURT’S ORDERS AND THE
        SETTLEMENT	  .......................................................................................................................................	  15	  
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1       6. 	   DEFENDANTS ROUTINELY INTERFERE WITH CLASS MEMBERS’ RIGHT TO COUNSEL
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2
3    III. 	   ARGUMENT	  ..............................................................................................................	  17	  
4       1. 	   THE SETTLEMENT IS CONSTRUED AND ENFORCED AS A CONTRACT OR
5       INJUNCTION…	  .....................................................................................................................................	  18	  

6       2.	   THIS COURT SHOULD ORDER DEFENDANTS TO COMPLY WITH THE
7
        SETTLEMENT..	  ...................................................................................................................................	  19	  

8       3.	   THIS COURT SHOULD APPOINT A SPECIAL MONITOR TO OVERSEE AND MONITOR
        DHS’S COMPLIANCE WITH THE SETTLEMENT AND THIS COURT’S ORDERS	  ...............	  22	  
9
10   IV.	   CONCLUSION	  ...........................................................................................................	  25	  

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5      2011) ................................................................................................................................................. 26

6    Buckhannon Board & Care Home v. West Virginia Dep’t of Health and Human Resources, 532 U.S.
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14     2001) ................................................................................................................................................. 25
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     Melendres v. Arpaio, 784 F.3d 1254 (9th Cir. 2015), cert. denied sub nom. Maricopa Cty., Ariz. v.
16    Melendres, 136 S. Ct. 799, 193 L. Ed. 2d 711 (2016) ...................................................................... 25

17   Nat’l Org. for Reform of Marijuana Laws v. Mullen, supra, 828 F.2d 536 (N.D. Cal. 1985) ............. 25

18   Reno v. Flores, supra, 507 U.S. 292 (1993) ......................................................................................... 26
19   Rufo v. Inmates of Suffolk County Jail, 502 U.S. 367; 112 S. Ct. 748; 116 L. Ed. 2d 867 (1992) ....... 18
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1                    MEMORANDUM OF POINTS AND AUTHORITIES
2    I.    INTRODUCTION1
3
           On February 2, 2015, Plaintiffs filed a motion to enforce the parties’ consent
4
5    decree (“Settlement”). The Court granted Plaintiffs’ motion on July 24, 2015, finding
6
     that Defendants were in material breach of the Settlement. In Chambers Order re
7
     Plaintiff’s Motion to Enforce Settlement of Class Action and Defendant’s Motion to
8
9    Amend Settlement Agreement [Doc. # 177] (“July 24, 2015 Order”). The Court
10
     ordered Defendants to release Class Members subject to specific provisions of the
11
     Agreement, while they await the results of removal proceedings. Id. at 24-25. The
12
13   Court also gave Defendants an opportunity to respond to the Court’s six-point remedy.
14
     Id.
15
16
           On August 21, 2015 the Court issued its remedial Order requiring Defendants to

17   comply in all regards with the Settlement. Order re Response to Order to Show Cause
18
     [Doc. # 189] (“August 21, 2015 Order”). The Court ruled that “Defendants must
19
20
21
     1 This Court retains subject matter jurisdiction to make the requested further Orders for
22   two reasons: (1) Each issue currently under consideration by the Ninth Circuit would
23   “remain[ ] unchanged” by the Proposed Orders; and (2) the Proposed Orders will
     “protect plaintiffs’ rights in direct response to defendants’ repeated and willful non-
24   compliance with [the Court’s] earlier orders.” Armstrong v. Brown, 732 F.3d 955, 959
25   fn. 6 (9th Cir. 2013), cert denied, 134 S. Ct. 2725 (2014) (Affirming the district court’s
     authority to issue modified orders requiring near immediate action by California state
26   prison officials pending appeal of its judgment, which determined the rights of disabled
27   prisoners and obligations of state officials).
28

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1    implement the Court’s remedies … by October 23, 2015.” Id. at 3.
2
           Defendants did not seek a stay of this Court’s August 21, 2015 Order. Instead,
3
4    they filed a Notice of Appeal of the July and August Orders. Notice of Appeal [Doc. #

5    191]. The thrust of the appeal is that “the District Court erred in holding that the
6
     Agreement applies to accompanied … minors ...” Bf for Appellants, Cir. Doc. #10-3
7
8    at 34-56.2
9
           The evidence filed herewith shows that in violation of this Court’s Orders and
10
     the Settlement, conditions for children at CBP detention facilities remain deplorable
11
12   with children forced to sleep in over-crowded cells on cold concrete floors with no
13
     mattresses or blankets, no change of clothes, no soap, towels or washing facilities, and
14
     entirely inadequate food and dirty drinking water. The evidence also shows that in
15
16   violation of this Court’s Orders and the Settlement, inter alia, Class Members are not
17
     advised of their rights; continuous efforts are not made and recorded regarding the
18
     release of accompanied Class Members; accompanied Class Members are not placed
19
20   2 On May 13, 2015, ICE announced that it would “discontinue invoking general
21   deterrence as a factor in custody determinations in all cases involving families.” DHS
     Press Release, Doc. # 153-1 at 2 (RE at 154). Homan Decl. Doc. # 184-1 at 4 (RE at
22
     160-161 ¶7) (“ICE no longer uses deterrence as a factor in individual custody
23   determinations . . .”) Having “considered in detail the evidence Defendants presented
     of the deterrent effect of the detention policy,” this Court concluded that “Defendants
24
     [failed to] proffer any competent evidence that ICE’s detention of a subset of class
25   members in secure, unlicensed facilities has deterred or will deter others from
     attempting to enter the United States.” July 21, 2015 Order at 23 (emphasis added). In
26
     the Court of Appeals Defendants make a volte face and resurrect “deterrence” as
27   “essential … to signal to potential illegal entrants that individuals who do not make
     meritorious claims for relief will not be permitted to remain in the United States.” Brief
28
     for Appellants, Ninth Circuit Doc. # 10-3 at 22.
                             PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                   2
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1       with family members or in non-secure facilities licensed for the care of dependent
2
        children without unnecessary delay; and Defendants persistently interfere with Class
3
4       Members’ right to counsel.3
5             The harm caused to children by Defendants’ detention policy has been
6
        explained to Defendants by child-welfare experts,4 leaders of Congress,5 faith-based
7
8       leaders,6 the American Bar Association,7 children’s advocacy groups8 and this
9
10
        3 A pro bono coordinator with the American Immigration Lawyers Association
11      observes: “Since the October 23, 2015 deadline set by the Court for the Government to
12      come into compliance with its August 2015 Order, as documented in a letter to ICE
        and USCIS from AILA, CLINIC, RAICES, the Council and Human Rights First dated
13      December 24, 2015 … practitioners and advocates in all three family detention
14      facilities have witnessed practices that have entirely short-circuited the Flores
        settlement and class members’ right to due process and access to counsel.” Dec. of
15      Karen Lucas Ex. 13 ¶21 (March 25, 2016).
16      4 See, e.g., Declaration of Dr. Luis Zayas, Exhibit 24 ¶¶ 1-6 [Doc. # 101-7];
17
        Declaration of Genevra Berger, Exhibit 25 ¶¶ 25, 28 [Doc. # 101-8]; American
        Academy of Pediatrics (AAP) Letter to Sec. Johnson, Ex. 97.1 [Doc. # 187-7];
18      Declaration of Laurie Cook Heffron, LMSW, Ex. 109.2 [Doc. # 187-10]; Declaration
19
        of Professor Nestor Rodriguez, Ex. 109.4 [Doc. # 187-10].
        5 See, e.g., 136 U.S. Representatives Respond to Sec. Johnson, Ex. 70 [Doc. # 187-2];
20      33 U.S. Senators Respond to Sec. Johnson, Ex. 71 [Doc. # 187-2]; Comment of
21      Senator Patrick Leahy (D-Vt.) on Changes to the Administration’s Family Detention
        Practices, Ex. 72 [Doc. # 187-2]; Senator Reid Statement On Administration’s
22      Decision To Reform Family Detention Policies, (Ex. 74 [Doc. # 187-2]; “Democratic
23      Members Say Reforming Family Immigrant Detention Isn’t Enough”, Ex. 78 [Doc. #
        187-2].
24      6 See, e.g., Faith leaders representing churches, synagogues, and faith-based
25      organizations in the United States letter to President Obama, Ex.81 [Doc. # 187-2]; 96
        NGOs and Faith-Based Organizations respond to Sec. Johnson, Ex. 79 [Doc. # 187-2];
26
        LIRS Statement regarding proposed DHS reforms to family immigration detention
27      policies, Ex. 80 [Doc. # 187-2]; Lutheran Immigration and Refugee Service (LIRS)
        “LIRS Urges Administration to Abandon Symbolic Reforms and End Family
28
        Detention,” Ex. 69 [Doc. # 187-2].
                               PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
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1       Court.9 Defendants have nevertheless ignored their obligation to treat children “with
2
        dignity, respect and special concern for their particular vulnerability as minors”
3
4       (Settlement ¶ 11) and have continued to violate the Settlement and this Court’s Orders
5       enforcing the Settlement. Plaintiffs now seek Orders from this Court in the form
6
        lodged herewith (1) requiring Defendants to promptly comply with the Settlement and
7
8       this Court’s Order of August 21, 2015, and (2) appointing a Special Monitor to
9
        oversee Defendants’ remedial efforts and compliance with the Settlement going
10
        forward.
11
12      II.   STATEMENT OF FACTS
13
              1.     Defendants continue to detain children in deplorable and unsanitary
14                   conditions in CBP facilities in violation of the Settlement and this
                     Court’s Orders
15
16            After reviewing the evidence, this Court’s July 24, 2015 Order held that
17
        Defendants “wholly failed” to meet even the “minimal standard[s]” of the Settlement,
18
        tolerating “overcrowded and unhygienic conditions” in CBP detention facilities. July
19
20
        7 Letter from William C. Hubbard, President, American Bar Association to DHS
21
        Secretary Jeh Johnson, Exhibit 64 [Doc. # 136.]
22      8 See, e.g., American Immigration Lawyers’ Association (AILA), “Little Meaningful
23      Change in ICE Announcement on Family Detention,” Ex. 82 [Doc. # 187-2]; American
        Immigration Council “Government Shows No Signs of Backing Down on Family
24      Detention,” Ex. 83 [Doc. # 187-2]; “Texas advocates throw cold water on ICE’s
25      promises to ‘fix family detention’,” Ex. 84 [Doc. # 187-2]; Human Rights First
        “Reforms to Family Detention System Are Insufficient,” Ex. 85 [Doc. # 187-2];
26      Refugee and Immigrant Center for Education and Legal Services (RAICES), “Obama
27      Administration Policy on Family Detention Continues to Violate the Law & Flores
        Settlement,” Ex. 86 [Doc. # 187-2].
28      9 July 24, 2015 Order [Doc. # 177]; August 29, 2015 Order [Doc. #189.]
                                PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                      4
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1       24, 2015 Order at 18 (emphasis added).10
2
              During the period from October 21, 2015 to December 3, 2015, the CARA
3
4       Project conducted 228 screenings of individuals recently held at CBP facilities and
5       “virtually all of them experienced abysmal conditions in CBP custody.” Declaration of
6
        Alexander Mensing, Ex. 19 at ¶6.11
7
8       (A)   Flores Class Member children in CBP facilities suffer from inadequate
9
              access to food

10            Food provided to those detained at CBP facilities remains inadequate for Flores
11
        Class Members, both in quantity and quality. Many Flores Class Members were only
12
13      fed semi-frozen, cold sandwiches once or twice per day rather than the two hot meals

14      and three total meals per day required by CBP standards.12
15
16
        10 In its August 21, 2015, Order, the Court again found that “[n]one of Defendants’
17
        declarations challenged or contradicted the deplorable conditions Plaintiffs’ declarants
18      described” in CBP detention cells. Id. at 13. The Court ordered Defendants to comply
19
        with and monitor compliance with the Settlement. Id. at 15.
        11 Flores class counsel and volunteer attorneys interviewed mothers and children at
20      CBP facilities in early 2016 well after Defendants October 2015 deadline to come into
21      compliance with the Settlement and this Court’s August 29, 2015 Order. Mothers and
        children uniformly reported being held for one to three nights in extremely cold
22      holding cells, not being provided dry clothes, being held in severely overcrowded cells,
23      having to sleep on cold concrete floors, not being provided mats or blankets, often
        having insufficient space to lay on the floor to sleep, having bright lights kept on all
24      day and night, inadequate food, dirty drinking water, one cup for 30-40 people to
25      share, no soap or paper towels to wash their hands, lack of privacy and cleanliness in
        toilet facilities, lack of access to medical treatment, no access to information regarding
26      detainees’ rights, and verbal abuse by some guards. Declaration of Class Counsel Peter
27      Schey (“Dec. Peter Schey”), Ex. 1 ¶ 5.
        12 CBP National Standards on Transport, Escort, Detention, and Search, October
28
        2015, Ex. 20 ¶ 5.6 (“Juveniles … will be offered a snack upon arrival and a meal at
                                PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
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1             Walter Axxxxxxxx xxxxxxxxx, a thirteen-year old class member from El
2
        Salvador was detained by CBP on or about November 9, 2015 for two days at the
3
4       Texas border: “The only food we got was sandwiches of 2 pieces of dry bread and one

5       thin slice of ham and a small box of juice. We were fed three times over the two days
6
        we were there … We were hungry, very cold, scared, and unable to sleep.”
7
8       Declaration of Walter Axxxxxxxx xxxxxxxxx, Ex. 22 ¶ 6.13
9             The evidence shows that CBP’s provision of inedible and inadequate food to
10
        detained class member children is systemic and widespread.14
11
12             (B) Flores Class Member children in CBP facilities continue to suffer
13
                   from inadequate access to clean drinking water

14            Flores Class Members and their mothers report that drinking water provided to
15
16      least every six hours thereafter, at regularly scheduled meal times. At least two of those
17
        meals will be hot. Juveniles … detainees must have regular access to snacks, milk, and
        juice.”) See https://www.cbp.gov/sites/default/files/documents/cbp-teds-policy-
18      20151005.pdf (last checked May 11, 2016).
19
        13 Sara Exxxxxxxx xxxxx and her Class Member daughter Nathaly Mxxxxxx
        xxxxxxxxx-xxxxx were apprehended on or about December 14, 2015, and detained at
20      a CBP station in Welasco, Texas, for about two days and two nights: “We were fed a
21      sandwich two times a day with some juice. My daughter refused to eat anything but the
        one slice of cold meat inside the sandwich. She was very hungry but we were not
22      served any food other than the cold sandwiches.” Declaration of Sara Exxxxxxxx
23      xxxxx Ex. 24 ¶ 6; Victor Rxxxxx xxxxxxx, a fifteen-year old national of El Salvador,
        was detained on or about October 14, 2015. He reported that he was only fed twice
24      during the entire day and night that he was held in CBP detention and the food was
25      frozen: “We had arrived at this station around 9 AM and were transferred out around 1
        AM the next morning. While at this location we were fed twice, both times we were
26      given a sandwich consisting of two frozen pieces of bread and one thin cold slice of
27      ham.” Declaration of Victor Rxxxxx xxxxxxx, Ex. 21 ¶ 4.
        14 See Ex. 2, pp. 1-3 (excerpts of numerous declarations filed herewith regarding
28
        inadequate food and children’s hunger at CBP facilities since October 2015).
                                PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                      6
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1       them in CBP detention facilities is dirty or often tastes so strongly chlorinated that the
2
        families are afraid to drink it. “We did not drink any water because it was right near
3
4       the bathroom and the container was disgusting. Instead, I would ration the small bags

5       of juice for my son.” Declaration of Karen Zxxxxx xxxxxxx, Ex. 39 ¶5.
6
              Flores Class Members and their mothers report that they did not have any cups
7
8       to drink water or that they had to share the same cups with numerous strangers held in

9       their cells. See, e.g. Declaration of Katerin Yxxxxxxx xxxxxxx Ex. 34 ¶9. Class
10
        member Nathaly Mxxxxxx xxxxxxxxx-xxxxx’ mother, Sara Exxxxxxxx xxxxx, was
11
12      afraid to have her daughter drink the water: “The water tasted like bleach so we were
13
        scared to drink it.” Declaration of Sara Exxxxxxxx xxxxx, Ex. 24 ¶6.
14
              The evidence shows that CBP’s failure to provide clean drinking water to
15
16      children detained for one to three days is routine and pervasive.15
17
        (C) Flores Class Member children are held in CBP facilities that are
18          unsanitary and unfit for human habitation
19
              Flores Class Members and their mothers describe sleeping on hard cement
20
21      floors covered in mud and littered with used sanitary napkins. Class Members are not

22      allowed to shower, wash their hands with soap, or brush their teeth.
23
              Alexander Mensing interviewed numerous Flores Class Members detained at
24
25      CBP facilities and their mothers after October 2015:

26
27
        15 See Exhibit 2 pp. 3 (excerpts of numerous declarations filed herewith regarding
28
        inadequate and dirty drinking water).
                                PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                      7
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1             In addition to the families lying near the toilets [to sleep], mothers recounted
2
              that detained men in the opposite cell had a clear view into the toilet area of the
              women’s cells. The guards also had a view into this area; one mother reported
3             that “we would ask someone to stand in front of us while we went to the
4             bathroom with their hands in the air so that the officers their [sic] wouldn’t
              watch us go to the bathroom.”…Families arrived with mud caked on their shoes
5             and thus the cell floors were covered with mud and dirt. Women and children
6             had to sit and lie down in dirt floors. Families generally spent one to several
              days in a CBP station. Class members and their mothers had no opportunity to
7             bathe during the time they were held at the hielera and the perrera. One …
8             woman … was held for eight days without showering or bathing. Another
              mother reported that there was no garbage can, so used sanitary pads piled up
9             on the floor by the toilets, and the mothers and children had to sleep next to the
10            garbage, on the floor due to overcrowding.

11      Declaration of Alexander Mensing, Ex. 19 ¶¶12(8) and 12(12)
12
              Mirna Mxxxxxx xxxxx describes the unsanitary conditions as follows:
13
14            The bathroom situation was very unsanitary. My youngest son and I got
              diarrhea and we didn’t receive any medical attention. We weren’t provided with
15            any toiletries, and I wasn’t able to bathe. The conditions were so bad that when
16            I later arrived at Karnes, they found that I had fleas, which I hadn’t had before
              being detained. Also, the bathrooms were not private there was only a little wall
17            separating them from the cell, which anyone could look over.
18
        Declaration of Mirna Mxxxxxx xxxxx, Ex. 25 ¶ 6.
19
20            Yessenia Exxxxxxxx xxxxxxx, a twelve-year old national from Guatemala, was
21
        detained at a CBP facility on or about January 21, 2016:
22
              At this place we were kept in a very crowded cell. The cell was all concrete. …
23
              For three days we were given no soap to wash, no toothbrushes to brush our
24            teeth, no paper towels to dry our hands when we washed our hands, nothing to
              brush our hair, no change of underwear or clothes, no pillows or blankets and
25
              no beds to sleep in.
26
27
28
                               PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                     8
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1       Declaration of Yessenia Exxxxxxxx xxxxxxx, Ex. 27 ¶6. 16
2
              The problems of sanitation at CBP facilities described above are systemic and
3
4       widespread.17
5
        (D) Flores Class Member children continue to suffer from extremely cold
6           temperatures in CBP detention facilities
7             The temperature in the CBP detention facilities remains extremely cold and
8
        both children and mothers complain of suffering from the cold. At night children are
9
10      sometimes provided a thin mylar sheet, which does little to mitigate the cold.
11
              Yessenia Exxxxxxxx xxxxxxx declares:
12
              The cell was all concrete … We had to try to sleep in the freezing cold cell on
13
              the concrete floor. We were exhausted physically and emotionally. On the third
14            day I was finally given a silver foil to cover myself at night.
15
        Declaration of Yessenia Exxxxxxxx xxxxxxx, Ex. 27 ¶6.
16
              Nine-year old Class Member Yeslin Lxxxx xxxxxxx described cold conditions,
17
18      16 Evelin Jxxxxx xxxxxxxx, a national of El Salvador came to the United States with
19      her Class Member son, Jeferson Axxxxx xxxxx xxxxxx (DOB xx/xx/2013). She and
        her son were apprehended on or about January 30, 2016: “There was a bathroom in
20      the CBP station cell, but it did not have a door. There were no diapers there. On
21      Saturday Jeferson used the bathroom and his pants were wet. He still does not have
        pants to put on.” Declaration of Evelin Jxxxxx xxxxxxxx, Ex. 42 ¶ 7. Class member
22      Yessenia Exxxxxxxx xxxxxxx declares: “The Border Patrol agents took us to a
23      border station close to the border. We spent that day and night in this location …Our
        clothes were wet and muddy but they didn’t give us any dry clothes. They didn’t let
24      us shower or give us towels or soap to wash.” Dec of Yessenia Exxxxxxxx xxxxxxx
25      (12 yrs old), Ex. 27 ¶¶ 6, 9. Mothers reported that they and their children were forced
        to sleep on or under the toilets, which were often the warmest place in the cell. One
26      mother reported that the smell was horrible and that the other families used the toilets
27      as she and her son lay next to it. Declaration of Alexander Mensing, Ex. 19 ¶12(7).
        17 See Ex. 2, pp. 4-6 (numerous excerpts of declarations filed herewith regarding
28
        overcrowded and uninhabitable CBP detention cells since October 2015).
                                PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                      9
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1       lack of dry clothing and over-crowded cells:
2
              The Border Patrol agents took us to a border station … The first night we were
3             there, we had to sleep sitting up on a bench because there were so many people
4             there that there was no room to lay down. The next night, we slept on the floor.
              They did not give us any blankets and we were all wet and they didn’t give us
5             any dry clothes. I could only sleep a tiny bit because … the floor was cold and
6             hard… In the middle of Sunday night, they took us to another place. We spent
              two nights in this place. It was very cold again and they only gave us aluminum
7             blankets to cover ourselves...
8
        Declaration of Yeslin Lxxxx xxxxxxx (age 9), Ex. 23 ¶¶ 4, 8.
9
10            Numerous Class Members and their mothers attest to the unnecessarily cold and

11
        unhealthy temperatures in CBP detention facilities.18
12
        (E)   Flores Class Member children are held in inhumanely overcrowded CBP
13
              detention facilities and are forced to endure sleep deprivation.
14
              Due to the inhumane crowded conditions in CBP detention facilities, Class
15
16      Members and their mothers often cannot lie down at night to sleep and must sit or
17
        stand in close proximity to strangers. Some cells are packed with up to 40 adults and
18
19
        children. Due to the overcrowding, some children are forced to sit up all night long.

20            Kenia Yxxxxx xxxxxxx, a national of Honduras, was detained with her
21
        daughter, Brijana Bxxxxxx-xxxxx. They entered the in Texas on or about December
22
23      18, 2015. She describes the crowded CBP cell where they were held:

24            This facility was very crowded the whole time we were there. There [were]
25            about 40 people in one room the size of a bedroom. There was no space to do
              anything. Every time we tried to stand up, they just kept yelling that we should
26            sit or lay down, but there was barely any space.
27
        18 See Ex. 2, pp. 6-8 (numerous excerpts of declarations regarding freezing cold
28
        temperatures in CBP detention cells).
                                PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                      10
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1
2       Declaration of Kenia Yxxxxx xxxxxxx, Ex. 36 ¶ 8.

3             Yessenia Exxxxxxxx xxxxxxx, a twelve-year-old national from Guatemala
4
        detained at a CBP station on or about January 21, 2016, declares:
5
6             On the third day I was finally given a silver foil to cover myself at night. At
              times the cell was so crowded that it wasn't possible to lay down to try to sleep
7             because there wasn’t enough room. I was terrified by the whole experience.
8
        Declaration of Yessenia Exxxxxxxx xxxxxxx, Ex. 27 ¶ 6.
9
10            The experiences of Class Members described above are typical of the
11
        inhumanely overcrowded conditions in CBP detention facilities.19
12
        2.    Flores Class Member children are routinely not advised of Flores rights by
13
              CBP or ICE officers as required by the Settlement
14
              The evidence shows that Flores Class Members are routinely not advised of
15
16      rights by CBP or ICE as required by the Settlement.
17            Victor Rxxxxx xxxxxxx, a fifteen-year-old national of El Salvador, crossed the
18
        border with his mother near Piedras Negras, Texas on or about October 14, 2015.
19
20      They were apprehended by CBP and then detained at the Karnes facility for
21
        approximately three weeks before both were transferred to Berks, PA.20 Victor
22
23      declares: “At no time while we were detained at Karnes did any official tell me about

24      the Flores case, give me any advisal of rights about the Flores case, or interview me
25
26      19 See Ex. 2, pp. 8-11 (excerpts of numerous declarations regarding overcrowding and
27      sleep deprivation in CBP cells).
        20 At the time of his interview on or about February 19, 2016 he had been at Berks for
28
        around three months and wanted to reunite with his Aunt in New York.
                               PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                     11
     Case 2:85-cv-04544-DMG-AGR Document 201 Filed 05/19/16 Page 19 of 33 Page ID
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1       about being placed with a relative or adult designated by my mother or about being
2
        transferred to a licensed facility for minors.” Declaration of Victor Rxxxxx xxxxxxx,
3
4       Ex. 21 ¶ 7.21
5       3.    DHS fails to make and record ongoing efforts aimed at release or
6             placement of Flores Class Members as required by the Court’s Orders
              and the Settlement
7
8             The evidence shows that in violation of this Court’s Orders and the Settlement,
9
        Defendants refuse to make and record continuous efforts aimed at the release of Class
10
        Member children and children are not released to relatives or friends under Paragraph
11
12      14 without unnecessary delay or placed in non-secure licensed facilities under
13
        Paragraph 19 within five days or as expeditiously as possible.22
14
15            Walter Axxxxxxxx xxxxxxxxx, a thirteen-year-old national of El Salvador, was

16
17
        21 “Not one of the Flores class members or mothers that I interviewed while
        volunteering at Dilley had received any information from CBP, ICE or Dilley staff
18      about the rights class members have under the Flores case.” Declaration of Natalia
19      Ospina, Ex. 7 ¶8; Karen Zxxxxx xxxxxxx and her son, nationals of El Salvador, were
        apprehended in Texas on or about August 29, 2015 and then detained at Dilley, TX.
20      On or about October 28, 2015 they were transferred to the detention center at Berks,
21      PA. Ms. Zxxxxx xxxxxxx declares: “The officials and staff at the detention center in
        Dilley never advised me of my son’s rights under the Flores case.” Dec. of Karen
22      Zxxxxx xxxxxxx, Ex. 39 ¶ 11. Walter Axxxxxxxx xxxxxxxxx, a thirteen-year-old
23      national of El Salvador, was detained on or about November 9, 2015 at the Texas
        border. He declares that during several weeks of detention at Dilley “no officer told me
24      anything about the Flores case or my rights under the Flores case.” Declaration of
25      Walter Axxxxxxxx xxxxxxxxx Ex. 22 ¶ 9. After three weeks of further detention at
        Berks “no official has explained any rights I may have under the Flores case.” Id. ¶12.
26      See also Ex. 2, pp. 11-12 (excerpts of numerous declarations showing almost no Class
27      Members are provided advisals of their rights as required by the Settlement).
        22 See Ex. 2, pp. 13-15 (excerpts of numerous declarations showing no ongoing efforts
28
        to release Class Members to relatives or place them in non-secure licensed programs).
                               PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                     12
     Case 2:85-cv-04544-DMG-AGR Document 201 Filed 05/19/16 Page 20 of 33 Page ID
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1       detained on or about November 9, 2015 at the Texas border. He declares: “No one
2
        asked me about relatives or family friends who may be willing to take care of me here
3
4       in the U.S. No official told me that any decision had been made about releasing or

5       detaining me …” Declaration of Walter Axxxxxxxx xxxxxxxxx, Ex. 22 ¶9.23
6
              Karen Zxxxxx xxxxxxx, detained with her Class Member son since on or about
7
8       August 29, 2015, and still detained with her son eight months later, declares: “No
9
        official questioned me about relatives or friends in the U.S. able to care for my son.
10
        No one asked me if I wanted my son transferred to a licensed facility for children.”
11
12      Declaration of Karen Zxxxxx xxxxxxx, Ex. 39 ¶ 11.
13
              Sara Exxxxxxxx xxxxx, mother of Class Member Nathaly Mxxxxxx
14
15
        xxxxxxxxx-xxxxx, fled to the U.S. after Sara’s life was threatened in Guatemala and

16      arrived in the U.S. on or about December 14, 2015. They were transferred to the
17
        Karnes detention facility on or about December 17, 2015. On February 3, 2016, about
18
19      six weeks after being detained, Sara declared: “No one has talked to me about whether

20      my daughter can be released to a friend or relative in the United States.” Declaration
21
        of Sara Exxxxxxxx xxxxx, Ex. 24 ¶ 9.24
22
23
24      23 After three weeks of further detention at Berks, Walter declared: “As best I am
25      aware no steps have been taken to evaluate me for release to my father or any other
        relative living in the U.S. … To the best of my knowledge no official here has
26      discussed my release with my mother.” Id. ¶12.
27      24 Pro bono attorney Leanne Purdum declares: “In none of the cases in which I
        interviewed Flores class members or their mothers did it appear that CBP or ICE or
28
        facility staff had taken any steps, let alone continuous and ongoing steps, to release
                                PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                      13
     Case 2:85-cv-04544-DMG-AGR Document 201 Filed 05/19/16 Page 21 of 33 Page ID
                                      #:4167

1       4.    Flores Class Member children are routinely commingled with unrelated
2
              adults for extended periods of time in violation of this Court’s Orders and
              the Settlement
3
              Raquel Axxxxxx xxxxxx fled Honduras with her daughter to escape threats of
4
5       violence. Raquel and her daughter were held at a border patrol station for about two
6
        days and had been detained at the Karnes facility for 44 days when she declared: “We
7
        are detained with hundreds of other unrelated women and their children. Many people
8
9       must share rooms and many of the children are sick because of the close quarters we
10
        share.” Declaration of Raquel Axxxxxx xxxxxx, Ex. 26 ¶ 11.25
11
12
13      minors as expeditiously as possible to close relatives or friends in the United States or
        to place them in licensed programs if release to relatives or friends was not possible.”
14      Declaration of Leanne Purdum, Ex. 8 ¶12 (March 1, 2016); Allison Mxxxx xxxxx is a
15      14 year old citizen of El Salvador in ICE custody for several months with her sister and
        mother. She declares: “There was no need for me [or] my sister … to be placed in
16      detention. Our father, Elias Mxxxxx xxxxx, lives in Dallas, Texas. He has been here
17      for about 12 years. My mother also has a sister … who lives in Maryland and is a
        Legal Permanent Resident … My mom also has an aunt in Maryland who is a U.S.
18      citizen … Immigration knows that we have family willing to care for us, and they have
19      denied our release for the last 8 months.” Dec. of Allison Mxxxx xxxxx, Ex. 40 ¶12
        (2/19/16). Celina Sxxxxxx-xxxx is the mother of class member Jefferson Axxx xxxxxx
20      xxxxxxx detained at the Berks detention center. They had been detained for about five
21      months (since on or about November 10, 2015) when Ms. Sxxxxxx-xxxx declared:
        “During my time detained … no one has attempted to assess whether my son could be
22      released to relatives in the United States. No officer questioned me about this or asked
23      me for information of who could care for my son if he was released from detention.”
        Dec. of Celina Sxxxxxx-xxxx, Ex. 28 ¶ 20. Jefferson’s father lives in Virginia and is
24      willing to care for his son unlawfully held in detention. Id. ¶ 23. Cesia Vxxxxxxxxx-
25      xxxx is a 13-year-old class member detained for about six months when she declared:
        “No official here has questioned me to determine if I have a close family member to
26      whom I could be released or whether I am willing to be placed in a licensed home if no
27      relative is found to be capable of caring for me.” Dec. of Cesia Vxx-xxxx, Ex. 29 ¶19.
        25 Karen Zxxxxx xxxxxxx fled El Salvador with her 5-year old son and is afraid to
28
        return. Karen and her son spent about two months at the Dilley facility and had been
                                PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                      14
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1             The evidence shows that Defendants routinely comingle Class Member children
2
        with unrelated adults in violation of Paragraph 12A of the Settlement.26 Young girls
3
4       may even be detained with unrelated men.27
5       5.    Flores Class Member children are routinely detained for weeks or months
6             in secure facilities in violation of this Court’s Orders and the Settlement
7             While Defendants have advised Class Counsel that they have reduced the
8
        “average” length of stay of Class Members in secure facilities to less than two weeks,
9
10      as the declarations cited above show, many Class Members are detained in secure

11      facilities (also not licensed for the care of dependent children) for weeks and months
12
        on end. 28 It is uncontested that the detention centers in Dilley and Karnes are fully
13
14      secure. The evidence indicates that the facility in Berks in also secure.29
15
16      detained at the Berks facility for three months when Karen made her declaration:
        “Detained men here are comingled with detained mothers and children and this makes
17
        the children and woman very uncomfortable.” Declaration of Karen Zxxxxx xxxxxxx,
18      Ex. 39 ¶23. Attorney Robert Doggett discusses a case in which a 12-year-old Class
        Member was recently sexually abused by an unrelated adult and the abuser remains in
19
        the same detention facility as the abused Class Member. Ex. 18, ¶ 22.
20      26 See Ex. 2, p. 17-18 (excerpts of numerous declarations showing class member
21
        children are routinely commingled for extended periods with unrelated adults).
        27 See, e.g. Dec. of Carol Anne Donohoe, Ex. 4 ¶ 4 (Accompanied Flores class
22      member children are routinely comingled with unrelated men and women, including in
23      sleeping quarters. “Concerned about the safety of some of my Flores clients, especially
        young girls sharing sleeping rooms with unrelated teenage and adult males, on or about
24      October 16, 2015, I sent an email to Immigration and Customs Enforcement,
25      Enforcement and Removal Operations (ICE-ERO) to express my concern about an
        eight year old girl made to share a room with her father and two unrelated adult
26      males.” She received no response.)
27      28 See Ex. 2, pp. 30-31 (excerpts of declarations); Class Counsel’s inspection and
        interviews at ICE detention facilities disclosed that since October 23, 2015, ICE has
28
        reduced what it calls the “average” detention length of Class Members to around 7-10
                                PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                      15
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                                      #:4169

1             The detention facilities are also not licensed as required by the Settlement.30
2
        6.    Defendants routinely interfere with Class Members’ right to counsel
3             adversely impacting their rights under the Settlement
4
              Pro bono coordinator Karen Lucas observes that “ICE has consistently
5
6       frustrated the ability of dedicated lawyers and legal assistants to access their clients

7       and has systematically disregarded the attorney-client relationship.” Dec. of Karen
8
        Lucas Ex. 13 ¶4.31
9
10            Pro bono attorney Jocelyn Dyer declares: “At the Dilley facility … legal

11      representatives are forced to prepare clients for their credible or reasonable fear
12
        interviews in a minimal amount of time (sometimes as little as twenty minutes) and
13
14
        days, however Defendants have not provided Class Counsel with the data relied upon
15      to arrive at various “averages.” In any event, inspections disclosed Class Member
16      children who had been detained for weeks or months in violation of the Settlement,
        regardless of the “average” length of detention of Class Members. Dec. of Peter Schey,
17
        Ex. 1 ¶ 9.
18      29 See Declaration of Peter Schey, Ex. 1 ¶ 9 (“While facility staff at Berks claim all
19
        doors to the exterior are kept unlocked, they also clearly stated during Class Counsel’s
        recent inspection that anyone who tried to leave would be promptly arrested.”)
20      30 See Pennsylvania Dept of Human Services letter to Berks County dated January 27,
21      2016, Ex. 60 (“The Department is … revoking the certificate of compliance effective
        from February 21, 2016 … [because Defendants’] Berks County Residential Center is
22      not operating as a child residential facility … Instead … [its residents] include[e]
23      adults.”); Declaration of Robert Doggett, Esq., Ex. 18 , ¶¶ 18-28 (details Defendants’
        to date unsuccessful efforts to obtain a license for their Dilley facility and the Texas
24      Court’s intention to review the propriety of a license obtained for their Karnes facility).
25      31 Flores Class Member children and their mothers are not afforded access to counsel
        at Border Patrol detention facilities even though they often spend at least 72 hours and
26
        sometimes longer in these facilities before being transferred to ICE detention. CARA
27      staff and volunteers have served over 7,000 families since March 2015 but have yet to
        encounter any child or family who met with an attorney or secured representation at a
28
        CBP facility. Dec. of Lindsay Harris, Ex. 16 ¶13.
                                 PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                       16
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1       with virtually no access to outside sources such as legal treatises, country condition
2
        experts, and medical or psychological experts who could perform forensic
3
4       examinations. This was a stark departure from my normal practice …” Dec. of

5       Jocelyn Dyer, Ex. 6 ¶7. Defendants have also transferred Class Members to distant
6
        locations without advance notice to their counsel as required by Paragraph 27 of the
7
8       Settlement.32
9
               The attached declarations establish an ongoing pattern and practice of
10
        interference with Class Members’ right to counsel that frustrates some Class
11
12      Members’ ability to obtain immigration relief and impedes their ability to realize and
13
        protect their rights under the Settlement.33
14
15      III.   ARGUMENT

16             Detained children retain the essence of human dignity inherent in all persons. A
17
        detention system that deprives detained children of decent food, water and sanitary
18
19
        32 See, e.g., Declaration of Ed Mccarthy, Ex. 11 ¶10 (March 2, 2016) (“I notified my
20      clients’ deportation officer that we planned to file a request for reconsideration with the
21      asylum office. The deportation officer told me to submit the reconsideration request
        within the next few days … Three days after this conversation, I traveled to Karnes to
22      … submit the reconsideration request. When I arrived, I was informed that my clients
23      had been transferred to an ICE family detention facility in Berks Pennsylvania, without
        any notice to me, their attorney. I could no longer meet with or even communicate with
24      my clients. The same thing happened with another mother and Flores class member
25      who I was representing. These transfers to Berks completely interfered with both the
        mothers’ and the Flores class members’ right to counsel.”). See also Ex. 2 pp. 26-31
26      (excerpts of pro bono attorney declarations regarding the transfer of Class Members
27      without prior notice to their counsel as required by the Settlement).
        33 See Ex. 2, pp. 26-31 (excerpts of numerous declarations re interference with right to
28
        counsel and due process).
                                PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                      17
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1       conditions, and forces them to sleep on a concrete floor, is incompatible with the
2
        concept of human dignity and has no place in a civilized society.
3
4       1.    The Settlement is construed and enforced as a contract or injunction

5             The Settlement is a contract, Rufo v. Inmates of Suffolk County Jail, 502 U.S.
6
        367, 378; 112 S. Ct. 748; 116 L. Ed. 2d 867 (1992), and is therefore generally
7
8       construed and enforced as such. Jeff D. v. Andrus, 899 F.2d 753, 759 (9th Cir.

9
        1989).34 Whether enforced as a contract or consent decree, the Court’s task is largely
10
        the same. City of Las Vegas v. Clark County, 755 F.2d 697, 702 (9th Cir. 1985) (“A
11
12      consent decree, which has attributes of a contract and a judicial act, is construed with
13
        reference to ordinary contract principles.”). As this Court has noted, “[w]here the
14
        contract is clear, the plain language of the contract governs.” July 24, 2015 Order at 3
15
16      (citation omitted). If breached, the Court should issue orders “commanding or
17
        enjoining particular conduct.” TNT Marketing, Inc. v. Agresti, 796 F.2d 276, 278 (9th
18
19      Cir. 1986).35

20
21
        34 With limited exceptions, “federal law controls the interpretation of a contract
        entered pursuant to federal law when the United States is a party.” Kennewick
22      Irrigation Dist. v. United States, 880 F.2d 1018, 1032 (9th Cir. 1989). The Settlement
23      is also an order of the Court and therefore a consent decree. Buckhannon Board &
        Care Home v. West Virginia Dep’t of Health and Human Resources, 532 U.S. 598, 604
24      n.7; 121 S. Ct. 1835; 149 L. Ed. 2d 855 (2001); Rufo, supra, 502 U.S. at 378
25      (settlement “a judicial decree that is subject to the rules generally applicable to other
        judgments and decrees.”).
26      35 Defendants have consistently violated the Settlement since the summer of 2014 and
27      this Court’s Orders since August 2015. Their conduct is lawless and contempuous.
        United States v. Powers, 629 F.2d 619, 626, fn. 6 (9th Cir. 1980). Nevertheless,
28
        Plaintiffs do not at this time seek a contempt ruling against Defendants believing that it
                                PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                      18
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1       2.    This Court should Order Defendants to comply with the Settlement
2
              The Court has already found that the consent decree’s language clearly and
3
4       unambiguously applies to accompanied minors. July 24, 2015 Order at 4-7. The terms

5       of the Settlement are clear and must be enforced.36
6
              Regarding conditions in Defendants’ CBP detention facilities, this Court made
7
8       clear that “to the extent any Border Patrol station is out of compliance with the
9
        Agreement, those stations must comply with the Agreement and Defendants’ own
10
        acknowledged standards and procedures.” Id. at 13. Paragraph 12 of the Settlement
11
12      requires that “[f]ollowing arrest, [Defendants] shall hold minors in facilities that are
13
        safe and sanitary and that are consistent with the [Defendants’] concern for the
14
        particular vulnerability of minors.” Id.37 The evidence overwhelmingly shows
15
16      Defendants’ CBP facilities are neither safe nor sanitary. Conditions in CBP detention
17
        cells are overcrowded and deplorable.
18
              Paragraph 18 of the Settlement provides: “Upon taking a minor into custody,
19
20      the [Defendants] … shall make and record the prompt and continuous efforts on its
21
22      would be more constructive to appoint a Special Monitor to help bring Defendants into
23      compliance with the Settlement and this Court’s Orders.
        36 The Court has already rejected Defendants’ argument that compliance with the
24      Settlement and this Court’s prior Orders would somehow contravene their obligations
25      under federal law. August 21, 2015 Order at 9 [Doc. # 189]. The Court has also made
        clear that compliance with the Settlement will not hamper Defendants’ legitimate
26      enforcement efforts. Id. at 11.
27      37 Safe and sanitary conditions includes but are not limited to access to toilets and
        sinks, safe drinking water and food as appropriate, medical assistance if the minor is in
28
        need of emergency services, and adequate temperature control and ventilation. Id.
                                PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                      19
     Case 2:85-cv-04544-DMG-AGR Document 201 Filed 05/19/16 Page 27 of 33 Page ID
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1       part toward family reunification and the release of the minor pursuant to Paragraph 14
2
        above. Such efforts at family reunification shall continue so long as the minor is in
3
4       [Defendants’] custody.” Id. 38 The evidence makes clear that Defendants routinely
5       fail to make and record required steps to release children as promptly as possible.39
6
              Paragraph 12A of the Settlement provides that “[i]f there is no one to whom
7
8       [Defendants] may release the minor pursuant to Paragraph 14 … the minor may be
9
        placed in a[ ] … detention facility …. having separate accommodations for minors
10
11      …”40 Minors not subject to detention or placed with a family member under

12      Paragraph 14 must be placed in a facility that “shall be non-secure” and licensed under
13
14
15      38 The Settlement further requires that children not released pursuant to Paragraph 14
16      be placed in a licensed program provided for by ICE. Settlement ¶ 19. ICE does not
17
        have a single contract Class Counsel is aware of to place children pursuant to
        Paragraph 19 of the Settlement.
18      39 While Defendants may have the statutory discretion to place certain Class Member
19      children in “expedited” proceedings, “[i]t is uncontroverted that, prior to June 2014,
        ICE generally released children and parents upon determining that they were neither a
20      significant flight risk nor a danger to safety.” Order of July 24, 2015 at 9 [Doc. #177.]
21      The statutory discretion to place children in expedited proceedings was enacted in
        1996 well before the Settlement was finally executed by all parties and approved by
22      the Court in 1997. Defendants may not now rely on that discretion to circumvent the
23      terms of the Settlement requiring the prompt release of Class Member children and the
        prohibition against detaining them in secure facilities. At the same time, “[a] de
24      minimis extension of the five-day requirement [for moving Class Member children out
25      of secure detention facilities] under individualized circumstances will not necessarily
        result in a breach of the Agreement or contravene the INA ...” Order of August 21,
26      2015 at 10-11 [Doc. #189] (emphasis supplied).
27      40 If a Class Member cannot be placed under Paragraph 14 or a licensed facility under
        Paragraph 19, with limited exceptions the child may be held for five days in secure
28
        facilities with “separate accommodations for minors …” Settlement ¶ 12A.
                                PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                      20
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1       state law. Paragraph 6.41 This Court has reiterated that accompanied Class Members
2
        are not to be housed in “unlicensed or secure facilities.” August 21, 2015 Order at 14.
3
4       The evidence shows that many Class Members are detained for weeks or months in
5       secure facilities in violation of the Settlement.
6
              Paragraph 24D of the Settlement provides that “[t]he [defendants] shall
7
8       promptly provide each minor not released with (a) INS Form 1-770, (b) an
9
        explanation of the right of judicial review as set out in Exhibit 6, and (c) the list of
10
        free legal services available in the district pursuant to INS regulations (unless
11
12      previously given to the minor).” Settlement ¶24D.42 The evidence shows that
13
        Defendants ignore the Settlement’s requirements regarding Class Member advisals.
14
15            Paragraph 27 of the Settlement provides that except in unusual and compelling

16      circumstances “[n]o minor who is represented by counsel shall be transferred without
17
        advance notice to such counsel …” The evidence shows that Defendants have
18
19      routinely ignored ¶ 27 of the Settlement and have in a range of ways persistently

20      interfered with Class Members’ right to counsel, impeding Class Members’ ability to
21
        enjoy the above-described rights under the Settlement.
22
23
24      41 The Settlement defines the exceptional circumstances in which Class Members may
25      be held in “secure” facilities. See, e.g. ¶ 21 (charged with a crime); ¶ 22 (escape risks).
        Not passing a credible fear interview is not a recognized basis for secure detention.
26      42 The Settlement makes clear that “[i]n order to permit judicial review of Defendants'
27      placement decisions as provided in this Agreement, Defendants shall provide minors
        not placed in licensed programs with a notice of the reasons for housing the minor in a
28
        detention or medium security facility.” Settlement ¶24C.
                                 PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                       21
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1                The harms being suffered by children as a result of Defendants’ ongoing
2
        violations of the Settlement43 strongly support the issuance of a further Order
3
4       regarding compliance without waiting for the several months involved in appointment

5       of a Special Monitor and the work that Monitor will engage in before s/he can report
6
        to the Court. A proposed Order lodged herewith seeks to clarify Defendants’ clear
7
8       obligations under the Settlement and requires that Defendants now take prompt steps

9       to comply.
10
        3.       This Court should appoint a Special Monitor to oversee and monitor
11               DHS’s compliance with the Settlement and this Court’s Orders
12
                 The Supreme Court has noted in the context of a California overcrowding
13
14      prison case that “[c]ourts faced with the sensitive task of remedying …
15      unconstitutional prison conditions must consider a range of available options,
16
        including appointment of special masters or receivers …” Brown v. Plata, 563 U.S.
17
18      493, 511, 131 S.Ct. 1910 (2011). Courts appointing monitors responsible for
19      overseeing implementation of orders or settlements rely upon their equitable powers
20
        to enforce settlements, decrees and Orders, or Fed. R. Civ. P. 53.
21
22               In Franco-Gonzalez v. Holder, Docket No. CV-10-02211-DMG (DTBx) (C.D.
23
        Calif. 2015), this Court entered an Order appointing a monitor to oversee the DHS.
24
        Franco-Gonzalez involves a class of immigration detainees who have been
25
26      determined to be incompetent to represent themselves by reason of mental disability.
27
28      43   See Ex. 2, pp. 1-33.
                                    PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                          22
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1             Defendants’ unsafe treatment of children continues unabated. The challenged
2
        conduct has in no significant way been voluntarily ceased. Rather than signaling a
3
4       willingness to end their breach of the Settlement, Defendants have indicated to their

5       private contractors that operate detention facilities a readiness to increase the
6
        detention of mothers and their children.44
7
8             Because of the complexities of the Settlement and because of the importance of
9
        Defendants’ compliance with the Settlement, pursuant to Fed. R. Civ. P. 53 and this
10
        Court’s inherent powers to enforce its Orders, the Court should now appointment a
11
12      Special Monitor to ensure compliance with the Settlement and this Court’s Orders.
13
              Plaintiffs’ propose in an Order lodged herewith:
14
           • Appointment of a Special Monitor for twenty-four months to oversee compliance
15
           with the Settlement and this Court’s July and August 2015 Orders. The Special
16         Master should have broad discretion regarding how to exercise her authority. Her
           authority should be subject to oversight by the Court.
17
18         • The Special Monitor should have the authority to gather information and
           documentation from all parties in furtherance of her monitoring function.
19
20         • The Monitor should have the authority to receive from Class Members or their
21
           detained mothers or representatives communications regarding alleged violations

22
23      44 In 2015 the GEO Group, which operates the Karnes detention facility, announced
24      on a 2015 Earnings Conference Call that by “December 1, [2015,] we expect to
        complete a $36 million 626 bed expansion to the Karnes, Texas, Residential Center ...
25      The new facility capacity will be 1,158 beds and will result in a new fixed monthly
26      payment estimated to take place on December 1 of this year.” See Dkt. #85-04544
        Exhibit 88. GEO’s leadership “remains committed to returning value to our
27      shareholders by targeting a 75% to 80% dividend payout.” Id. “[T]otal revenue for the
28      year is expected to be approximately $1.86 billion …” Id.
                                 PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                       23
     Case 2:85-cv-04544-DMG-AGR Document 201 Filed 05/19/16 Page 31 of 33 Page ID
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1          of the Settlement and this Court’s Orders and to investigate those claims, obtain
2
           Defendants’ and Class Counsels’ views, and recommend remedial action. The
           Special Monitor will advise all parties and the Court if her recommended remedial
3          steps are not implemented.
4
           • The Special Monitor should have the authority to mediate Plaintiffs’ claims of
5          non-compliance to reduce entanglement of the Court in future motions to the
6          enforce the Settlement.

7          • The Special Monitor should not have the authority to issue orders or impose any
8          sanctions, but may recommend to the Court various orders, including any contempt
           sanction.
9
10         • The Special Monitor’s fees, costs and expenses, including with respect to the
           assistance of other experts or specialists, should be paid by Defendants.45
11
12            This litigation’s history underscores that the mandated rights of vulnerable
13
        children will be best protected if the Government’s behavior is monitored.46
14
15
        45 See Declaration of Peter Schey, Ex. 1, ¶ 11(“Plaintiff Class Members are indigent
16      detained children and have no ability to share in the cost of a Special Monitor.”)
17      46 See, e.g. Melendres v. Arpaio, 784 F.3d 1254 (9th Cir. 2015), cert. denied sub nom.
        Maricopa Cty., Ariz. v. Melendres, 136 S. Ct. 799, 193 L. Ed. 2d 711 (2016)
18
        (injunctive relief to class of Latino persons against sheriff based on allegations of racial
19      profiling; Court of Appeals affirmed: “In context, most of the provisions dealing with
        the scope of the Monitor’s assessment authority are aimed at eliminating the
20
        constitutional violations found by the district court and therefore do not constitute an
21      abuse of discretion”); Plata v. Schwarzenegger, 603 F.3d 1088, 1095 (9th Cir. 2010)
        (monitor to oversee remedies re California prison overcrowding); Nat’l Org. for
22
        Reform of Marijuana Laws v. Mullen, supra, 828 F.2d 536 (affirmed preliminary
23      injunction and appointment of Special Master; neither a final determination of a
        constitutional violation nor a determination of intentional disregard required to justify
24
        appointment of a master under Fed. R. Civ. P. 53(b)); Labor/Community Strategy Ctr.
25      v. Los Angeles County Metro. Trans. Auth., 263 F.3d 1041, 1045 (9th Cir. 2001), cert.
        denied, 535 U.S. 951 (2002); Ruiz v. Estelle, 679 F.2d 1115 (5th Cir. 1982)
26
        (overcrowding threatened prisoners health and safety; affirmed appointment of a
27      Special Monitor); Floyd v. City of New York, 959 F. Supp. 2d 668, 2013 U.S. Dist.
        LEXIS 113205, 2013 WL 4046217 (S.D.N.Y. 2013) (permanent injunction as to
28
        defendant’s unconstitutional stop-and-frisk policies; “It is within the power of a district
                                PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                      24
     Case 2:85-cv-04544-DMG-AGR Document 201 Filed 05/19/16 Page 32 of 33 Page ID
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1       IV.   CONCLUSION
2
              It is obviously not the case that ICE must detain families together to keep them
3
4       together. As the Supreme Court observed some 22 years ago:

5          In the case of arrested alien juveniles, however, the INS cannot simply send them
6          off into the night … The … Service must assure itself that someone will care for
           those minors … That is easily done when the juvenile’s parents have also been
7          detained and the family can be released together …
8
        Reno v. Flores, 507 U.S. 292, 295 (292) (citations omitted; emphasis added).
9
10            For all of the reasons stated above, the District Court should Order Defendants

11      to promptly comply with the Settlement’s terms and appoint a Special Monitor to
12
        oversee Defendants’ compliance with the Settlement and this Court’s Orders.
13
14
        Dated: May 17, 2016                      Respectfully submitted,
        PETER A. SCHEY                           T. WAYNE HARMAN
15      CARLOS R. HOLGUIN                        ELENA GARCIA
16
        CENTER FOR HUMAN RIGHTS AND              ORRICK, HERRINGTON &
        CONSTITUTIONAL LAW                       SUTCLIFFE LLP
17
        AMANDA ALVARADO FORD                     JENNIFER KELLEHER CLOYD
18      MICHAEL S. SORGEN                        KATHERINE H. MANNING
19      LA RAZA CENTRO LEGAL, INC.               KYRA KAZANTZIS
                                                 ANNETTE KIRKHAM
20      ALICE BUSSIERE                           THE LAW FOUNDATION OF SILICON VALLEY
21      VIRGINIA CORRIGAN                        LEGAL ADVOCATES FOR CHILDREN AND YOUTH
        YOUTH LAW CENTER                         PUBLIC INTEREST LAW FIRM
22
        OF COUNSEL FOR PLAINTIFFS
23                                               /S/ PETER SCHEY
                                                 ATTORNEYS FOR PLAINTIFFS
24
25
        court to order the appointment of a monitor to oversee judicially ordered reforms”);
26
        Balla v. Idaho State Bd. of Corr., 2011 U.S. Dist. LEXIS 1864, 2011 WL 108727 (D.
27      Idaho Jan. 6, 2011) (prison litigation reform: “The Court agrees with Plaintiffs that the
        most cost-effective and efficient route to resolving the unique challenges posed by this
28
        difficult case is through the appointment of a special master”).
                                PLAINTIFFS’ MOTION TO ENFORCE FLORES SETTLEMENT
                                                      25
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1
                                       CERTIFICATE OF SERVICE
2

3             I, Peter Schey, declare and say as follows:

              I am over the age of eighteen years of age and am not a party to this action. I am
4

5
        employed in the County of Los Angeles, State of California. My business address is
6

7       256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
8
                 On May 19, 2016, I electronically filed the following document(s): NOTICE
9
        OF MOTION AND MOTION TO ENFORCE SETTLEMENT AND FOR APPOINTMENT OF SPECIAL
10
        MASTER WITH SUPPORTING EXHIBITS with the United States District Court, Central
11

12      District of California by using the CM/ECF system. Participants in the case who are
13
        registered CM/ECF users will be served by the CM/ECF system.
14

15

16

17

18                                                  /s/Peter Schey
                                                    Attorney for Plaintiffs
19

20

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22

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24

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26

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                                                   1
